
667 S.E.2d 720 (2008)
Henry LAWSON, Jr.
v.
Owen Dana WHITE, Thomas Calvin Gordon, Sr., Thomas Edward Cook, III &amp; Southeastern Outdoor Products, Inc.
No. 69P08.
Supreme Court of North Carolina.
June 11, 2008.
J. Gates Harris, Roanoke Rapids, for Lawson.
Gregory T. Griffin, Clinton, for White, et al.

ORDER
The plaintiff's Petition for Discretionary Review is allowed for the limited purpose of remanding this case to the Court of Appeals for reconsideration of its decision in light of Dogwood Development and Management Co., LLC v. White Oak Transport Co., Inc., 362 N.C. 191, 657 S.E.2d 361 (2008).
By order of the Court in Conference, this 11th day of June 2008.
